     Case 1:09-cv-00430-AWI-EPG Document 547 Filed 02/27/18 Page 1 of 3



 1    BENJAMIN D. BROWN (SBN 202545)
      bbrown@cohenmilstein.com
 2    COHEN MILSTEIN SELLERS & TOLL, PLLC
      1100 New York Avenue, N.W.
 3    Suite 500, West Tower
      Washington, D.C. 20005
 4    Telephone: (202) 408-4600
      Facsimile: (202) 408-4699
 5
      Counsel for Plaintiffs and the Proposed Class
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      [Additional counsel listed on signature page]
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 9                               UNITED STATES DISTRICT COURT

10                              EASTERN DISTRICT OF CALIFORNIA

11                                         FRESNO DIVISION

12
     GERALD CARLIN, JOHN RAHM, PAUL                   Case No. 1:09 CV 00430-AWI (EPG)
13   ROZWADOWSKI and DIANA WOLFE,
     individually and on behalf of themselves and     CLASS ACTION
14   all others similarly situated,
                                                      ORDER MODIFYING SCHEDULING
15                                    Plaintiffs,     ORDER (ECF No. 494)

16   v.                                               (ECF No. 546)

17   DAIRYAMERICA, INC., and
     CALIFORNIA DAIRIES, INC.,
18
                                      Defendants.
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     Case 1:09-cv-00430-AWI-EPG Document 547 Filed 02/27/18 Page 2 of 3


                                                     ORDER
 1
              For the reasons provided in the parties’ stipulation (ECF No. 546), the Court adopts the
 2
      stipulation as follows:
 3
              1.      All litigation activity shall be stayed for the next 45 days in order to permit the
 4
      parties to fully focus their efforts on a potential settlement of this case.
 5
              2.      The deadlines set forth in the Court's Amended Scheduling Order shall be
 6
      modified as follows:
 7
      EVENT                            CURRENT DEADLINE                  PROPOSED DEADLINE
 8
      Completion of document
      productions                      February 16, 2018                 April 12, 2018
 9
      Completion of depositions
10                                     June 29, 2018                     August 13, 2018
      Contention interrogatory
11    responses                        July 27, 2018                     September 10, 2018
      Motion for class certification
12    and motions for summary          August 10, 2018                   September 24, 2018
      judgment filed
13    Expert disclosures (class and
      merits, with the exception of    August 10, 2018                   September 24, 2018
14
      report regarding calculation
15    of damages)
      Oppositions to motion for
16    class certification and          October 12, 2018                  November 30, 2018
      motions for summary
17    judgment
      Rebuttal expert disclosures
18    (class and merits, with the      October 12, 2018                  November 30, 2018
19    exception of report regarding
      calculation of damages)
20    Reply briefs supporting
      motion for class certification   December 7, 2018                  January 25, 2019
21    and motions for summary
      judgment
22

23
              3.      The Motion for Class Certification hearing set for January 11, 2019 at 10 a.m.
24
      before Judge Grosjean is CONTINUED to March 1, 2019 at 10 a.m. in Courtroom 10 (EPG)
25
      before Magistrate Judge Erica P. Grosjean.
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     Case 1:09-cv-00430-AWI-EPG Document 547 Filed 02/27/18 Page 3 of 3



 1           4.      The deadline for DairyAmerica to file a Request for Reconsideration by the

 2    District Court of the Magistrate Judge's Ruling Granting Plaintiffs' Motion to Compel shall be

 3    extended to April 12, 2018.

 4           5.      The Court is unlikely to grant subsequent requests for modification of the

 5    schedule absent good cause.

 6
      IT IS SO ORDERED.
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 8       Dated:     February 26, 2018                          /s/
                                                       UNITED STATES MAGISTRATE JUDGE
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